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                                   8                                  UNITED STATES DISTRICT COURT
                                   9                                 NORTHERN DISTRICT OF CALIFORNIA
                                  10
                                                                             SAN JOSE DIVISION
                                  11

                                  12     COREPHOTONICS, LTD.,                               Case No. 17-CV-06457-LHK
Northern District of California
 United States District Court




                                  13                    Plaintiff,                          CASE MANAGEMENT ORDER
                                  14             v.

                                  15     APPLE, INC.,
                                  16                    Defendant.

                                  17
                                       Plaintiff’s Attorney: Marc Fenster
                                  18   Defendant’s Attorney: Philip Morton
                                  19
                                              A case management conference was held on September 27, 2018. A further case
                                  20   management conference is set for February 27, 2019, at 2:00 p.m. The parties shall file their joint
                                       case management statement by February 20, 2019.
                                  21
                                               The Court set a briefing schedule for Apple’s proposed motion to stay the case pending
                                  22   inter partes review. The parties’ motion and opposition shall be limited to 10 pages each. The
                                  23   reply shall be limited to five pages.

                                  24          The Court ordered the parties to file a joint settlement status report by December 21, 2018.

                                  25          The amended case schedule is set forth below:
                                  26     Scheduled Event                                          Date
                                  27
                                                                                        1
                                  28
                                       Case No. 17-CV-06457-LHK
                                       CASE MANAGEMENT ORDER
                                           Case 3:17-cv-06457-JD Document 87 Filed 09/27/18 Page 2 of 2




                                         Deadline to Exchange Proposed Constructions and         October 3, 2018
                                   1     Extrinsic Evidence
                                   2     Deadline to Serve Damages Contentions (relating to      October 17, 2018
                                         the later-filed case, 18-CV-02555)
                                   3
                                         Deadline to File a Joint Claim Construction and         October 24, 2018
                                   4     Prehearing Statement
                                   5     Deadline to Serve Responsive Damages Contentions        November 16, 2018
                                         (relating to the later-filed case, 18-CV-02555)
                                   6
                                         Deadline to Complete Claim Construction Discovery       November 21, 2018
                                   7
                                         Claim Construction Briefing                             Pl.’s Op.: November 21, 2018
                                   8                                                             Def’s Resp.: December 7, 2018
                                                                                                 Pl.’s Reply: December 14, 2018
                                   9     Motion to Stay Briefing                                 Def’s Op.: December 7, 2018
                                                                                                 Pl.’s Resp.: December 19, 2018
                                  10                                                             Def’s Reply: December 28, 2018
                                  11     Joint Settlement Status Report Due                      December 21, 2018
                                         Hearing on Motion to Stay                               January 3, 2019, at 1:30 p.m.
                                  12
Northern District of California




                                         Claim Construction Hearing                              January 17, 2019, at 1:30 p.m.
 United States District Court




                                  13
                                         Further Case Management Conference                      February 27, 2019, at 2:00 p.m.
                                  14     Close of Fact Discovery                                 May 3, 2019
                                  15     Opening Expert Reports                                  June 3, 2019
                                  16     Rebuttal Expert Reports                                 July 2, 2019

                                  17     Close of Expert Discovery                               July 26, 2019
                                         Last Day to File Dispositive Motions                    Motions: August 22, 2019
                                  18     (one per side in the entire case) and Daubert Motions   Responses: September 19, 2019
                                  19                                                             Replies: October 3, 2019
                                         Hearing on Dispositive Motions                          October 24, 2019, at 1:30 p.m.
                                  20
                                         Final Pretrial Conference                               December 19, 2019, at 1:30 p.m.
                                  21
                                         Jury Trial                                              January 13, 2020, at 9:00 a.m.
                                  22     Length of Trial                                         5 days
                                  23
                                       IT IS SO ORDERED.
                                  24
                                       Dated: September 27, 2018
                                  25
                                                                                      ______________________________________
                                  26                                                  LUCY H. KOH
                                                                                      United States District Judge
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                                       Case No. 17-CV-06457-LHK
                                       CASE MANAGEMENT ORDER
